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    Mariners Cove B v. Greer   S   I 14 Petition   H0
    CIVIL COURT OF THE CITY OF NEW YORK
    COUNTY OF NEW YORK
    ._---__.--__-_____________________________________________________X
    MARINERS COVE SITE B ASSOCIATES,
                                                                                Index No. L&T      C}    "1
                                                                                                          '     1
                                                                                                                    Vi
                                        Petitioner,
             -
                 against   -
                                                                                NOTICE OF PETITION
 DR. STEVEN GREER
                                                                                HOLDOVER DVVELLING
 200 RECTOR PLACE
                                                                                Condominium Apartment
 APARTMENT 35F
 NEW YORK, NEW YORK 10280,

                                        Respondent
 ________-_______________-_____-_-__________-_-______________X

                       To the respondent above named and described, in possession of the premises

hereinafter described or claiming possession thereof:

                       PLEASE TAKE NOTICE that a hearing at which you must appear will be held at
the Civil Court of the City of New York, County of New York, City
                                                                  and State of New York, in Part
,   Room                   111 centre Street, New York, New York on May 14, 2014 at 2:00 p.m. in the

afternoon of that day, on the annexed petition of Mariners Cove Site B Associates, verified
                                                                                            on May
2, 2014, which prays for                   a   final judgment of possession, awarding to petitioner possession of the
premises described                 as   follows: apartment 35F in the building known as and located    at 200 Rector

Place, New York, New York 10280                         as   demanded in the petition, which you must answer. Your
answer may set forth any defense or counterclaim against petitioner unless precluded by
                                                                                        law or
prior agreement of the parties.

                      PLEASE TAKE FURTHER NOTICE that demand is made in the petition herein
for judgment against you for all outstanding use and occupancy for the subject premises
                                                                                        together
with any outstanding rent prior to the expiration of the parties’ lease agreement.




                                                                                                                         LD001971
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                  PLEASE TAKE FURTHER NOTICE that if you fail                to interpose and   establish
any defense that you may have to the allegations of
                                                        the petition, you may be precluded from
asserting such defense or the claim on which it is based in any other
                                                                      proceeding or action.
               PLEASE TAKE FURTHER NOTICE that under Section 745 of the
                                                                                          Real
Property Actions and Proceedings Law, you may be required by the Court to make
                                                                               a deposit of use

and occupancy, or a payment of use and occupancy to the Petitioner,
                                                                    upon your second request for
an adj ournment or if the   proceeding is not settled or a final determination has not been made by the
Court within 30 days of the iirst court appearance. Failure to comply with an initial deposit
                                                                                              or
payment     order may result in the entry of a final judgment against you without   a   trial. Failure to
make subsequent required deposits or payments may result in         an   immediate trial   on the   issues
raised in your answer.

                 PLEASE TAKE FURTHER NOTICE that, in the event of your failure to answer
and appear, final judgment by default may be entered against you for the relief demands
                                                                                        in the
petition.

Dated: New York, New York
       May 2, 2014
                                                                         Carol Alt
                                                                 Clerk of the Civil Court
                                                                  of the City of New York


                  son Law Group, PLLC
        A omeys for Petitioner
        570 Lexington Avenue, 23rd Floor
        New York, New York 10022
        (2 I 2) 686-4401




                                                                                                             LD001972
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 CIVIL COURT OF THE CITY OF NEW YORK
 COUNTY OF NEW YORK
 --...---..._____________.__,____________________________________X
 MARIN ERS COVE SITE B ASSOCIATES,                                     Index No. L&T
                                 Petitioner,
                     -
                         against   -

                                                                      VERIFIED HOLDOVER
                                                                      PETITION DWELLING
 DR. STEVEN GREI-ER
 200 RECTOR PLACE                                                     Condominium Apartment
 APARTMENT 35F
 NEW YORK, NEW YORK 10280,

                                Respondent.
 --____----___------__------_---------------__------___-_---.x
                 Petitioner Mariners Cove Site B Associates ("Petitioner"), as and for its petition,
 respectfully alleges:

          1.     Petitioner is the landlord of the subject premises hereinafter described and is
 authorized to institute and maintain this proceeding.

          2.         The Premises from which removal is sought are occupied for dwelling purposes

 and are described as apartment 35F in the building known as and located at 200 Rector Place, New

 York, New York 10280 ("Premises") situated within the territorial jurisdiction of the Civil Court
 of the City of New York, New York County.

         3.          Respondent Dr. Steven Greer ("Respondent") entered into possession of the
 Premises under          a   written   agreement   dated February 21, 2002 between himself,   as tenant   and
Petitioner,    as   landlord                   The Lease subsequently was renewed through April 30, 2014

and expired on April 30, 2014. The Lease has not been renewed and no rent for                      a   period
subsequent to April 30, 2014 has been accepted from Respondent.

         4.         This proceeding is without prejudice to Petitioner’s rights in the nonpayment

proceeding between the parties under index no. L&T 61405f20l4.

        5.          Respondent is holding over and remains in possession of the Premises
                                                                                         without the
permission of Petitioner after the expiration of said term.



                                                                                                                LD001973
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         7.       The Premises is located in             multiple dwelling and pursuant
                                                     a                                    to the   Housing
Maintenance Code, Article 41, there is        a   current effective registration statement on file with the

Oiiice of Code Enforcement in which the Petitioner has designated the managing agent named
below,   a    natural person over 21 years of age, to be in control of and responsible
                                                                                       for the
maintenance and operation of the Premises..
         Multiple Dwelling                                                  Registered Business
         Registration No.                  Managing Agent                   Address
              140521                        Lorraine Doyle                  99 Battery Place
                                                                            New York, NY. 10280
         8.       The property herein sought to be recovered is the residence of Respondent.

                  WHEREFORE, Petitioner requests final judgment as follows:
                  1.     Against Respondent, awarding to Petitioner possession of the Premises;

                  2.     Directing   a   Warrant of Eviction to be issued to remove Respondent from

possession of the Premises;

                  3.     Awarding to Petitioner value of use and occupation of the Premises         to the

date ofjudgment and the value of the rent outstanding prior to the expiration of the Lease;

                  4.     Provided a written agreement authorizing such an award exists between the
parties pursuant to applicable law, awarding          to   Petitioner reasonable attomeys' fees, costs and
disbursements of the instant proceeding in a sum not presently known but to be determined          at trial;

and




                                                                                                               LD001974
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                        Granting Petitioner such further relief   as to the   Court may seem just and
proper.

Dated: New York, New York
          May 2, 2014
                                                     MARINERS COVE SITE B ASSOCIATES
                                                     Landlord

           son Law Group, PLLC
   omeys for Petitioner
570 Lexington Avenue, 23rd Floor
New York, New York 10022
(212) 686-4401




                                                                                                        LD001975
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true based upon   information and belief. The grounds of his belief are statements andfor records
provided by the Petitioner, its agents and/or employees and contained in the attomey’s office.

               This verification is made pursuant to the provisions of RPAPL 741.


Affirmed:      New York, New York
               May 2, 2014



                                                             effrey BodoE




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            MARJNERS cove smz B ASSOCIATES,
                        against-        Petitioner-Landlord,
           STEVEN GREER, MD
           200 RECTOR PLACE
           APARTMENT 35F
           NEW YORK, NEW YORK 10280
                            Respondent-Tenant,



                                               NOTICE OF PETITION AND PETITION


                                             The Abrarnson Law Group, PLLC
                                                             Petitioner
                                                                                            '




                                        allomeyx for



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                                                 570   Lexington Avenue,   23*" Floor
                                                       New York, N.Y. 10022
                                                         (212) 686-440!

         To

         Allumcys fur



         Service of a copy of the within                                                                            is hereby admitted,


         Da'ed-                                                                      ...m.;I;.

       Please take notice
     t~JmL;I.nunsmx
'3
that the within is a (certified) true copy of a
duly entered in the omce of the clerk cf the within named court on                                                             20
Dthat na erder                                                  of which the within is              a   true copy will be presented
for settlement to the HON.                                                                                       one of the judges
of the within named court,         at
on                                      20        at                                  M.
Dated,
                                                                                                 Yours,   etc.

                                                                       The Abramson Law Group, PLLC
To                                                                 at/arneyx
                                                                               fur

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                                                                                                  037:2

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